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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       §
    In re:                                                             §     Chapter 11
                                                                       §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                            §     Case No. 20-33233 (DRJ)
                                                                       §
                                       Debtors.                        §     (Jointly Administered)
                                                                       §

     AGENDA FOR HEARING SCHEDULED FOR DECEMBER 14, 2020, AT 1:30 P.M.
        (PREVAILING CENTRAL TIME), BEFORE JUDGE DAVID R. JONES AT
     THE UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT
     OF TEXAS, AT COURTROOM 400, 515 RUSK STREET, HOUSTON, TEXAS 77002

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

hereby file their agenda for matters set for hearing on December 14, 2020, at 1:30 p.m. (prevailing

Central Time).

PRE-TRIAL CONFERENCE

1.           Second Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy
             Corporation and Its Debtor Affiliates [Docket No. 1644].

OTHER MATTERS.

2.           Delasandro Stay Motion. Stefanie Delasandro’s Motion for Relief from the Automatic
             Stay as to Esquisto Resources II, LLC, Wildhorse Resources Management, LLC, WHR
             Eagle Ford LLC and Chesapeake Operating, LLC [Docket No. 1293].

             Responses Received:

             A.    Debtors’ Objection to Stefanie Delasandro’s Motion for Relief from the Automatic
                   Stay as to Esquisto Resources I, LLC, Wildhorse Resources Management, LLC,
                   WHR Eagle Ford Llc and Chesapeake Operating, LLC [Docket No. 1642].




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
      Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
      Western Avenue, Oklahoma City, Oklahoma 73118.
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     Related Documents:

     A.     Notice of (1) Reset Hearing on Stefanie Delasandro’s Motion for Relief from the
            Automatic Stay as to Esquisto Resources II, LLC, Wildhorse Resources
            Management, LLC, WHR Eagle Ford LLC and Chesapeake Opeating, LLC [Doc.
            1293] and (2) Hearing on the Delasandros’ Motion for Rehearing or to Alter or
            Amend That Certain “Stipulation and Order by the Debtors Granting Relief from
            Automatic Stay” [Doc. No. 1091], Entered September 3, 2020, Pursuant to Fed. R.
            Bankr. P. 9023, or in the Alternative, for Relief from Such Order Pursuant to Fed.
            R. Bankr. P. 9024 [Doc. 1175] [Docket No. 1596].

     B.     Notice of (1) Reset Hearing on Stefanie Delasandro’s Motion for Relief from the
            Automatic Stay as to Esquisto Resources II, LLC, Wildhorse Resources
            Management, LLC, WHR Eagle Ford LLC and Chesapeake Opeating, LLC [Doc.
            1293] and (2) Hearing on the Delasandros’ Motion for Rehearing or to Alter or
            Amend That Certain “Stipulation and Order by the Debtors Granting Relif from
            Automatic Stay” [Doc. No. 1091], Entered September 3, 2020, Pursuant to Fed. R.
            Bankr. P. 9023, or in the Alternative, for Relief from Such Order Pursuant to Fed.
            R. Bankr. P. 9024 [Doc. 1175] [Docket No. 1970].

     Status: This matter is going forward.

3.   Delasandro Reconsider Motion. The Delasandros’ Motion for Rehearing or to Alter or
     Amend That Certain “Stipulation and Order by the Debtors Granting Relief from
     Automatic Stay” [Docket No. 1091], Entered September 3, 2020, Pursuant to Fed. R.
     Bankr. P. 9023, or in the Alternative, for Relief from Such Order Pursuant to Fed. R. Bankr.
     P. 9024 [Docket No. 1175].

     Responses Received:

     A.     Debtors’ Objection to the Delasandros’ Motion for Rehearing or to Alter or Amend
            That Certain “Stipulation and Order by the Debtors Granting Relief from Automatic
            Stay” [Docket No. 1091], Entered September 3, 2020, Pursuant to Fed. R. Bankr.
            P. 9023, or in the Alternative, for Relief from Such Order Pursuant to Fed. R. Bankr.
            P. 9024 [Docket No. 1329].

     Related Documents:

     A.     Reply to Debtors’ Objection to the Delasandros’ Motion for Rehearing or to Alter
            or Amend That Certain “Stipulation and Order by the Debtors Granting Relief from
            Automatic Stay” [Docket No. 1091], Entered September 3, 2020, Pursuant to Fed.
            R. Bankr. P. 9023, or in the Alternative, for Relief from Such Order Pursuant to
            Fed. R. Bankr. P. 9024 [Docket No. 1361].

     B.     Notice of (1) Reset Hearing on Stefanie Delasandro’s Motion for Relief from the
            Automatic Stay as to Esquisto Resources II, LLC, Wildhorse Resources
            Management, LLC, WHR Eagle Ford LLC and Chesapeake Opeating, LLC [Doc.
            1293] and (2) Hearing on the Delasandros’ Motion for Rehearing or to Alter or
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            Amend That Certain “Stipulation and Order by the Debtors Granting Relief from
            Automatic Stay” [Doc. No. 1091], Entered September 3, 2020, Pursuant to Fed. R.
            Bankr. P. 9023, or in the Alternative, for Relief from Such Order Pursuant to Fed.
            R. Bankr. P. 9024 [Doc. 1175] [Docket No. 1596].

     C.     Notice of (1) Reset Hearing on Stefanie Delasandro’s Motion for Relief from the
            Automatic Stay as to Esquisto Resources II, LLC, Wildhorse Resources
            Management, LLC, WHR Eagle Ford LLC and Chesapeake Opeating, LLC [Doc.
            1293] and (2) Hearing on the Delasandros’ Motion for Rehearing or to Alter or
            Amend That Certain “Stipulation and Order by the Debtors Granting Relif from
            Automatic Stay” [Doc. No. 1091], Entered September 3, 2020, Pursuant to Fed. R.
            Bankr. P. 9023, or in the Alternative, for Relief from Such Order Pursuant to Fed.
            R. Bankr. P. 9024 [Doc. 1175] [Docket No. 1970].

     Status: This matter is going forward.

4.   Bedsole Stay Motion. John H. Bedsole and Bedsole Land Company’s Motion to Lift
     Automatic Stay [Docket No. 1248].

     Responses Received:

     A.     Debtors’ Objection to John H. Bedsole and Bedsole Land Company’s Motion for
            Relief from the Automatic Stay as to Debtor Chesapeake Louisiana, L.P. [Docket
            No. 1635].

     Related Documents:

     A.     Notice of Reset Hearing on Motions to Lift the Automatic Stay of John H. Bedsole
            and Bedsole Land Company and Rosa M. Byers [Docket No. 1513].

     B.     Notice of Consent to Reset Hearing on Motion to Lift Automatic Stay of John H.
            Bedsole and Bedsole Land Company [Docket No. 1713].

     C.     Notice of Consent to Reset Hearing on Motion to Lift Automatic Stay of John H.
            Bedsole and Bedsole Land Company [Docket No. 2191].

     Status: This matter is going forward.
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5.   Hendrix Stay Motion. Motion of Madison Hendrix; Traci Hendrix, Individually and as
     Next of Kin to the Estate of Bradley Hendrix; Norma Lyn Maldonado, Individually and as
     Representative of the Estate of Brian Amador Maldonado; and Erika Beddingfield,
     Individually and as Next Friend of M.B., A Minor, and as Representative of the Estate of
     Windell Beddingfield, Deceased for Relief from Stay to Conclude Pending Texas State
     Court Litigation [Docket No. 1558].

     Responses Received:

     A.     Debtors’ Limited Objection and Reservation of Rights to the Motion of Madison
            Hendrix; Traci Hendrix, Individually and as Next of Kin to the Estate of Bradley
            Hendrix; Norma Lyn Maldonado, Individually and as Representative of the Estate
            of Brian Amador Maldonado; and Erika Beddingfield, Individually, and as Next
            Friend of M.B., A Minor, and as Representative of the Estate of Windell
            Beddingfield, Deceased for Relief from Stay to Conclude Pending Texas State
            Court Litigation [Docket No. 1813].

     Related Documents:

     B.     Proposed Agreed Order (I) Granting Relief from the Automatic Stay, Effective as
            of January 4, 2021, and (II) Granting Related Relief [Docket No. 2215].

     Status: This matter is resolved pending entry of the proposed Agreed Order filed at Docket
     No. 2215.

6.   Ramirez Stay Motion. Motion for Relief from the Automatic Stay [Docket No. 1606].

     Responses Received: None.

     Related Documents:

     A.     Notice of Reset Hearing on Motion for Relief from the Automatic Stay
            [Docket No. 2085].

     B.     Proposed Joint Stipulation and Agreed Order By and Among Debtors and
            Catherine Ramirez Granting Relief from the Automatic Stay [Docket No. 2281].

     Status: This matter is resolved pending entry of the proposed Stipulation and Agreed
     Order filed at Docket No. 2281.

7.   Balboa Stay Motion. Motion of Omar Balboa for for Relief from Stay to Conclude Pending
     Texas State Court Litigation [Docket No. 2219].

     Responses Received: None.
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       Related Documents:

       A.     Proposed Agreed Order (I) Granting Relief from the Automatic Stay, Effective as
              of January 4, 2021, and (II) Granting Related Relief [Docket No. 2284].

       Status: This matter is resolved pending entry of the proposed Agreed Order filed at Docket
       No. 2284.

WITNESS-EXHIBIT LISTS

8.     Debtors’ Witness and Exhibit List for Hearing Scheduled for December 14, 2020, at
       1:30 P.M. (Prevailing Central Time) [Docket No. 2209].

9.     Delasandros’ Amended Witness and Exhibit List [Docket Nos. 2273, 2330].



 Houston, Texas
 December 14, 2020

 /s/ Matthew D. Cavenaugh
 JACKSON WALKER L.L.P.                            KIRKLAND & ELLIS LLP
 Matthew D. Cavenaugh (TX Bar No. 24062656)       KIRKLAND & ELLIS INTERNATIONAL LLP
 Jennifer F. Wertz (TX Bar No. 24072822)          Patrick J. Nash, Jr., P.C. (admitted pro hac vice )
 Kristhy M. Peguero (TX Bar No. 24102776)         Marc Kieselstein, P.C. (admitted pro hac vice )
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 Co-Counsel to the Debtors                        Co-Counsel to the Debtors
 and Debtors in Possession                        and Debtors in Possession
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                                      Certificate of Service

        I certify that on December 14, 2020, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh
